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UNITED STATES DISTRICT COURT |
DISTRICT OF MARYLAND NOVI5 2019

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United States of America, By DISTRICT OF Many ang

plaintiff,

v. Case No.: CCB 19-1773
CCB 17-0452

Thomas Allers,

defendant.

 

MOTION FOR EXTENSION OF TIME

Thomas Allers requests an extension of time to submit his reply to the
government's response. Because Mr. Allers is an indigent prisoner proceeding pro
se, he requests until December 26, 2019 to file.

Mr. Allers is incarcerated at the Coleman Correctional Complex in Coleman,
Florida. While the prison has some resources that Mr. Allers may access to help
him in preparing his reply (12 law library terminals, 6 working typewriters, and
1 copy machine), they are shared between the approximately 2,000 inmates for
limited hours. When situations occur that could even vaguely threaten the
security of the complex, the compound is immediately closed and the inmates are
‘recalled back to their housing unit, thus depriving Mr. Allers of access to the
needed resources. It is a necessary inconvenience resulting from an overcrowded,
understaffed, and rapidly deteriorating prison. |

| Additionally, the upcoming holidays will ensure that Mr. Allers will not be
able to regularly access the materials he needs for his reply. The holidays in

the already under-staffed prison result in it becoming even less staffed, as the

officers take time-off to be with their families. The upshot is more closures of

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Case 1:17-cr-00452-CCB Document55 Filed 11/15/19 Page 2 of 2

the education department and the compound, and more Limited hours for Mr. Allers
to work on his case.

Mr. Allers therefore requests until December 26, 2019 to file his reply.
Mr. Allers notes that the government will not be prejudiced by this delay, as

Mr. Allers is already incarcerated.

Respectfully submitted by Thomas Allers on this 5th of November, 2019:

Thomas ATL
Reg. No. 29% O31 unit B-2

Federal Correctional Complex
P.O. Box 1031 (Low Custody)
Coleman, Florida 33521-1031

CERTIFICATE OF SERVICE

-This document was delivered in a properly addressed, postage-prepaid
envelope to the prison mailing authorities on the same day as signed.

The original was sent to the United States District Court, Office of the
Clerk. .

A copy of this document was sent via First Class Mail to the United States
via its attorney of record at 36 South Charles Street, Fourth Street, Baltimore, #

Maryland 21201.

 

 

T as Allers

VERIFICATION

Under penalty of perjury as authorized by 28 U.S.C. § 1746, I declare that

the factual allegations and factual statements contained in this document are

true and correct to the best of my a)

Thomas Aller

  

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